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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 21-305 (JEB)

 SARA CARPENTER,

                     Defendant.




      SARA CARPENTER’S REPLY TO RESPONSE IN OPPOSITION TO
                  MOTION TO DISMISS COUNTS


      On December 29, 2022, the defendant filed a motion to dismiss Counts One,

Two, Three, Four, and Seven. The government filed its response on January 20, 2023,

and any reply by the defendant is due by January 30, 2023. We write to notify the

Court that the defendant relies on her initial briefing and will not be filing a reply.


                                    Respectfully submitted,

                                    By:    /s/
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